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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION


UNITED STATES OF AMERICA,                     )
                                              )
             Plaintiff,                       )
                                              )
      v.                                      )      No. 4:09-CR-146 (CEJ)
                                              )
JAIRO GARCIA-RAMIREZ,                         )
                                              )
             Defendants.                      )

                           MEMORANDUM AND ORDER

      Pursuant to 28 U.S.C. § 636(b), the Court referred all pretrial matters in this

case to United States Magistrate Judge Mary Ann L. Medler for determination and

recommended disposition, where appropriate. On March 27, 2009, Judge Medler

issued a Report and Recommendation with respect to the motion fo suppress

statements filed by defendant Jairo Garcia-Ramirez.        The defendant has filed

objections to the magistrate judge’s recommended denial of the motion.

Accordingly, the Court reviews de novo the proposed findings and recommendations

of the magistrate judge as to which objections have been made. 28 U.S.C.

§636(b)(1). In conducting its review, the Court has listened to the recording of the

suppression hearing conducted by the magistrate judge on March 17, 2009.

      The defendant objects to the magistrate judge’s finding that a statement he

made to a police officer following his arrest was voluntary. The undisputed testimony

established that the defendant, while being transported from jail, asked Special

Federal Officer Robert Tubbe what he was being charged with.          Officer Tubbe

merely responded that the charge was probably conspiracy to distribute cocaine. At
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that point, the defendant stated that he didn’t understand because he had only

driven one of the co-defendants to St. Louis to deliver the cocaine.

      Clearly, the defendant was in custody at the time he made the statement to

Officer Tubbe. And while no Miranda warnings were given, it was unnecessary to do

so because the statements were not in response to interrogation by the police.

Miranda v. Arizona, 384 U.S. 436, 444 (1966).    Rather, the defendant’s statements

were made voluntarily and spontaneously, and not in response to “express

questioning [by the police] or its functional equivalent.” Rhode Island v. Innis, 446

U.S. 291, 300-01 (1980).

      The defendant argues that the government was required to prove that no

other police officer spoke with defendant before the conversation with Officer Tubbe.

The Court disagrees. The only statement at issue here is the one that defendant

made to Officer Tubbe.    Given the circumstances under which the statement was

made, the inescapable conclusion is that the statement was made spontaneously by

the defendant and did not result from interrogation or from any conduct designed to

elicit a statement.

      Accordingly, for the foregoing reasons,

      IT IS HEREBY ORDERED that the Report and Recommendation of United

States Magistrate Mary Ann L. Medler [Doc. #83] is sustained, adopted, and

incorporated herein.

      IT IS FURTHER ORDERED that the objections of defendant Jairo Garcia-

Ramirez [Doc. #90] are overruled.




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      IT IS FURTHER ORDERED that the defendant’s motion to suppress

statements [Doc. #62] is denied.




                                     CAROL E. JACKSON
                                     UNITED STATES DISTRICT JUDGE



Dated this 3rd day of June, 2009.




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